  Case 22-13754-CMG          Doc 45     Filed 12/21/22 Entered 12/21/22 13:40:58             Desc Main
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   Phillip Raymond
   McCalla Raymer Leibert Pierce, LLC
   485F US Highway 1 S
   Suite 300                                                            Order Filed on December 21, 2022
   Iselin, NJ 08830                                                     by Clerk
                                                                        U.S. Bankruptcy Court
   Telephone: (732) 902-5399                                            District of New Jersey
   NJ_ECF_Notices@mccalla.com
   Attorneys for Secured Creditor

                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF NEW JERSEY

   In re:                                            Chapter 13

   Gary M. Repack, Jr.,                              Case No. 22-13754-CMG
   Melissa W. Repack,
                                                     Hearing Date: December 21, 2022 at 9:00 a.m.

                                                     Judge: Christine M. Gravelle
                                      Debtors.

                             ORDER VACATING AUTOMATIC STAY

            The relief set forth on the following pages, number two (2) through two (2) is hereby

                                               ORDERED




DATED: December 21, 2022
Case 22-13754-CMG          Doc 45    Filed 12/21/22 Entered 12/21/22 13:40:58         Desc Main
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Debtor:                  Gary M. Repack, Jr., and Melissa W. Repack
Case No.:                22-13754-CMG
Caption of Order:        ORDER VACATING AUTOMATIC STAY

        THIS MATTER having been opened to the Court upon the motion of NewRez LLC d/b/a
Shellpoint Mortgage Servicing as the Servicer for DEUTSCHE BANK NATIONAL TRUST
COMPANY, AS TRUSTEE FOR SOUNDVIEW HOME LOAN TRUST 2007-WMC1, ASSET
BACKED CERTIFICATES, SERIES 2007-WMC1 ("Movant") for an Order vacating the
automatic stay in effect pursuant to 11 U.S.C. § 362(a) and for good cause shown for the entry of
this Order, it is hereby ordered that:


    1. The automatic stay be and is hereby vacated under 11 U.S.C. § 362(d) to permit Movant,
        to institute or resume a mortgage foreclosure action in the Superior Court of New Jersey
        in order to pursue its rights in real property located at 12 Glacier Drive, Howell, NJ
        07731;
    2. Movant may join as defendants in said foreclosure action the Debtors and/or any trustee
        appointed in this case, irrespective of whether the Debtors' case converts to any other
        chapter of the Bankruptcy Code;
    3. Movant may pursue any and all loss mitigation options with respect to the Debtors or the
        real property described above, including but not limited to repayment agreement, loan
        modification, short sale or deed-in-lieu of foreclosure;
    4. Movant shall no longer be responsible to serve Notices of Payment Change and/or
        Notices of Post-Petition Fees, Expenses and Charges to the Debtors as required by
        F.R.B.P. 3002.1(b) and (c).
